Case 2:22-cr-00042-Z-BR Document 156 Filed 09/07/23 Page 1of3 PagelD 791

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

UNITED STATES OF AMERICA

Vv.

MANDIS CHARLES BARROW (01) NO. 2:22-CR-042-Z
a/k/a “Twin”

STEPHANIE ANN SALDANA (02)

VERDICT OF THE JURY
We, the Jury, find the defendant, Mandis Charles Barrow:

Count One of the Indictment — Conspiracy to Distribute or Possess with Intent to
Distribute 500 Grams or More of Methamphetamine

4 Guilty

Not Guilty

Do you find beyond a reasonable doubt that the overall scope of the conspiracy
involved at least 500 Grams or more of a mixture or substance containing a detectable
amount of methamphetamine?

x Yes

No

Do you find beyond a reasonable doubt that the defendant, Mandis Charles
Barrow, knew or reasonably should have known that the scope of the conspiracy involved
at least 500 Grams or more of a mixture or substance containing a detectable amount of

ee)
Yes

No

USA v. Mandis Charles Barrow, et al.
Agreed Jury Instructions — Page 36
Case 2:22-cr-00042-Z-BR Document 156 Filed 09/07/23 Page 2of3 PagelD 792

Count Two of the Indictment — Distribution and Possession with Intent to Distribute
500 me of Methamphetamine

Guilty
Not Guilty

Count Three of the Indictment — Possession with Intent to Distribute 500 Grams or
More of sams

Guilty

Not Guilty

USA v. Mandis Charles Barrow, et al.
Agreed Jury Instructions — Page 37
Case 2:22-cr-00042-Z-BR Document 156 Filed 09/07/23 Page 3of3 PagelD 793

We, the Jury, find the defendant, Stephanie Ann Saldana:

Count One of the Indictment — Conspiracy to Distribute or Possess with Intent to
Distribute 500 Grams or More of Methamphetamine

Guilty

fe Not Guilty

Do you find beyond a reasonable doubt that the overall scope of the conspiracy
involved at least 500 Grams or more of a mixture or substance containing a detectable
amount of methamphetamine?

Yes
Jl, WY
Do you find beyond a reasonable doubt that the defendant, Stephanie Ann
Saldana, knew or reasonably should have known that the scope of the conspiracy

involved at least 500 Grams or more of a mixture or substance containing a detectable
amount of methamphetamine?

Yes
: No

Count Three of the Indictment — Possession with Intent to Distribute 500 Grams or
More of Methamphetamine

Guilty

Jo Not Guilty

USA v. Mandis Charles Barrow, et al.
Agreed Jury Instructions — Page 38
